                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:18-CV-00458-GCM

PLATINUM PRESS, INC.                         )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )
                                             )
DANIELLE DOUROS-HAWK,                        )
3C! PACKAGING, INC., JOHN                    )
CULLEN, and RUSSELL HILL,                    )
                                             )
                      Defendants.            )


     ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION TO CONTINUE THE
            STAY OF PROCEEDINGS FOR SIX ADDIITONAL WEEKS

       THIS MATTER COMES before this Court on the Plaintiff’s Status Report and

Unopposed Motion to Continue the Stay of Proceedings for Six Additional Weeks. (D.E. 43).

Plaintiff’s Motion demonstrates the existence of exceptional circumstances and good cause

sufficient to warrant entry of a continued six (6) week stay in this proceeding for the period May

15, 2020 through June 26, 2020. Further, Plaintiff’s Motion is unopposed as Defendants do not

intend to file a formal opposition to Plaintiff’s Motion. For the reasons stated in Plaintiff’s

Motion, this Court GRANTS the Motion.

       It is ordered that all deadlines arising between May 15, 2020 through June 26, 2020 are

stayed as set forth in the Plaintiff’s Motion. Further, the Court orders discovery be completed by

August 7 2020, mediation be completed by August 21, 2020, and dispositive motions be filed by

September 11, 2020. The parties are ordered to meet and confer by no later than June 19, 2020 to

evaluate whether (1) lifting the stay effective June 26, 2020 and proceeding with the case under




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revised case deadlines as set forth above is feasible and appropriate or (2) extending the stay if

circumstances associated with the COVID-19 pandemic legitimately warrant, is appropriate.

The parties will file a joint status report with the Court no later than June 22, 2020 advising of

their position on lifting the stay. The trial date in this matter will be determined after the filing of

the joint status report.

        IT IS SO ORDERED.


                                  Signed: May 12, 2020




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